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TCA Fourth Semi-Annual Report Tonk

A Message from the
Technical Compliance Advisor

The following semi-annual report, hereinafter referred to as Report, summarizes the work
conducted by the Technical Compliance Advisor, hereinafter called the TCA, for the six-
month period ending on June 9, 2016. The same is submitted under Paragraphs 250 and
252 of the Agreement for the Sustainable Reform of the Puerto Rico Police Department,
hereinafter the Agreement. (All references to paragraphs are paragraphs of the
Agreement). Consistent with Paragraph 252, the TCA provided a draft copy of the Report
to the Parties on June 21, 2016. On July 7, 2016, the Parties provided their
responses. The TCA made changes to the draft based on input provided by the parties.

This is the fourth semi-annual report since the appointment of the undersigned as TCA
on June 6, 2014. Taking into account that the Puerto Rico Police Department, hereinafter
called the PRPD, has completed eight (8) out the eleven (11) Action Plans and has
submitted for review the remaining three (3) plans, the TCA is better positioned to
formulate recommendations, engage in detailed analysis of programs and operations and
target areas susceptible to improvement. This development by the PRPD facilitates the
adoption of best practices within the timelines provided by the Agreement and the Action
Plans.

It is proper to acknowledge the positive evolution of the Reform Unit under the leadership
of Colonel Clementina Vega. Consistent with Paragraphs 231 through 234, the Unit has
become a more cohesive, synchronized, and active source of reform within the PRPD.
The Unit has achieved this objective by assembling an impressive team of officers,
attorneys, and civilian contractors. They have consistently shown the ability to draft
effective policies, general orders, and other critical administrative documents following
both, the Agreement and best practices in modern law enforcement. This evolvement is
highly commendable.

The Reform Unit has implemented the practice of conducting regular visits to precincts,
the PRPD Police Academy, and community groups. At the conclusion of these site visits,
they report their observations and findings to the Director of the Reform Unit, who in turn
reports them to the Superintendent and other Commanders. Through this process, they
are efficiently and consistently helping the PRPD to understand and welcome the
institutional changes required by the Reform.

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The TCA also wants to acknowledge the diligence and dedication of the Reform Unit in
drafting the required eleven (11) Action Plans of which the TCA and the United Stated
Department of Justice, hereinafter called the USDOJ, have approved eight (8). The
remaining three (3) plans are actually under review. Once the last Action Plans are
approved, the PRPD, led by its Reform Unit, will reach a significant milestone in the reform
process, a significant feat to be acknowledged upon completion.

In view of the upcoming elections and the usual occurrence of personnel and operational
changes responding to such process, the TCA respectfully submits that pursuant to
Paragraph 233 the Commonwealth and the PRPD “make their best efforts to retain such
personnel and resources to ensure continuity of effort and successful implementation of
this Agreement and the comprehensive reform of PRPD.” Within the aforementioned
framework, the TCA further submits and recommends that the experience, knowledge,
and documented performance of the Reform Unit be considered before any personnel
changes are implemented to assure the desired continuity of the progress made bringing
about reform within the PRPD after the election process is over.

Consistent with Paragraph 205, the PRPD is required to engage with the community in
the Reform process. The TCA was very impressed with the work of the PRPD in the
implementation of the new Community Interaction Councils, a major milestone in the
Reform process, and the continued growth of the neighborhood security councils.
instilling a culture of transparency and trust is always a difficult task, but the TCA is
satisfied that the dialogue with the community, which remains open, will ultimately make
this plan succeed. In this vein, the TCA continues to promote the exchange of
communication between the PRPD and community groups, among them, GRUCORPO.
GRUCORPO is a conglomerate of organizations and groups with diverse interests that
have volunteered to assist the PRPD during the reform process without yielding their
particular objectives. Nevertheless, they have contributed to this process by examining
policies and protocols and providing advice and observations consistent with the goals of
constitutional and bias-free policing.

Presently, the dialogue between the PRPD and GRUCORPO continues; however, it
appears to have slowed down due to administrative issues regarding the terms of the
policy review protocol. The TCA will continue to mediate between the PRPD and
GRUCORPO in order to facilitate a better working relationship between them and to look
for opportunities to promote collaboration with the community.

As required in Paragraph 241, the TCA must conduct comprehensive surveys of the
police, the community, and detainees arrested by the PRPD. The goal is to use these
surveys to tap into the pulse of police-community relations in Puerto Rico. It further

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requires that these surveys should be statistically valid, based on a sound methodology,
and conducted by an independent entity. The TCA has complied with the requirements
of Paragraph 241. The completed surveys and their results will be published in a separate
special report to the Court in August 2016. The Superintendent has been briefed on all
three (3) surveys and directed the briefing to all of his thirteen (13) Area Commanders,
which was completed in June. These surveys will enable the PRPD to make informed
decisions in critical areas of human and civil rights based on well-documented scientific
data for the first time in the history of the organization. Furthermore, during the “capacity
building period,” it provides the PRPD the opportunity to address deficiencies using a
greater strategic awareness program. The next group of surveys will involve community
focus groups, which will supplement the quantitative data and information obtained from
the written surveys by providing a more qualitative dimension. By hearing and recording
direct experiences from the community, the PRPD can better align itself to address its
needs.

The TCA continues to have a dim view of the Drugs, Narcotics, Vice, and Illegal Firearms
Bureau. Recently reported incidents of alleged corruption and civil rights violations
continue to reflect a pattern of conduct of a Unit in disarray, lacking leadership and
direction. Such reports in other police organizations typically result in wholesale transfers,
dismissals, convictions, or disbandment of the Unit in a very short period. Those
corrective measures, however, have not taken place in Puerto Rico. The TCA has
consistently mentioned this specific Unit in all of his previous semiannual reports and has
included recommendations for improvement and reform. Although the Superintendent
has recognized the urgency of the situation by engaging Internal Affairs and submitting a
policy for the reorganization of the Unit, there are little-known improvements to date. The
TCA acknowledges these steps towards change, but he has persistently recommended
a complete transformation of this Unit. Further comments and recommendations of the
TCA will be addressed later on in this Report.

Paragraph 13 requires the PRPD to conduct a personnel-staffing study to assess human
resource needs by the PRPD. This requirement is highlighted under the approved Action
Plan on Professionalization. The set deadline is June 2016. However, the PRPD will not
comply with this deadline. Upon the insistence of the TCA, the PRPD has assembled a
working group to complete the staffing study. The PRPD has submitted an application for
a federal grant to defray expenses. Since this is a colossal undertaking, the TCA does
not entirely blarne the PRPD for being slow-paced in this situation, but, on the other hand,
the TCA fails to understand how can the PRPD continue to promote personnel and
conduct random transfers --including the recent transfer of several Area Commanders--
without first understanding the strategic and operational needs of the organization. The
TCA recommends that no additional promotions are made until the PRPD
completes the study, and transfers are warranted on the basis of operational

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needs. Further comments and recommendations of the TCA on Paragraph 13 will be
addressed later on in this Report.

The TCA recognizes that Puerto Rico faces unprecedented fiscal problems that may
affect police reform efforts, particularly relating to the Agreement requirements for
Information Technology. The TCA encourages the PRPD to search for new funding and
grant opportunities. The TCA and his team will continue to provide technical assistance
to lessen PRPD’s expenditures whenever possible. It should be noted that within this
reporting period, the TCA provided the PRPD more than one hundred (100) differentiated
best practice models of police department policies, procedures, and training modules in
use in the United States and the Caribbean, and the team of subject matter experts often

worked pro-bono.

Finally, the TCA takes this opportunity to thank all involved in the Reform process for their

ontinued support and cooperation.
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Arnaldo Claudio, US Army, Col. (ret)

Technical Compliance Advisor

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